






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00560-CR








Samuel Jurado, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT


NO. 61344, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



Appellant's brief was due February 14, 2008.  The brief has not been received and
no extension of time has been requested.  Appellant's appointed attorney, Bobby Dale Barina, did
not respond to the Court's notice that the brief is overdue.

The appeal is abated.  The trial court shall conduct a hearing to determine whether
the attorney it appointed to represent appellant has abandoned the appeal.  Tex. R. App.
P.&nbsp;38.8(b)(2).  The court shall make appropriate findings and recommendations.  If necessary, the
court shall appoint substitute counsel who will effectively represent appellant in this cause.  A record
from this hearing, including copies of all findings and orders and a transcription of the court
reporter's notes, shall be forwarded to the Clerk of this Court for filing as a supplemental record no
later than April 30, 2008.  Rule 38.8(b)(3).

				

				__________________________________________

				Diane Henson, Justice

Before Justices Patterson, Puryear and Henson

Abated

Filed:   March 27, 2008

Do Not Publish


